
QUINCE, J.
We have for review a decision on the following question of great public importance certified by the First District Court of Appeal in Department of Transportation v. Hogan, 777 So.2d 976 (Fla. 1st DCA 1999):
WHERE AN EMPLOYER TAKES A WORKERS’ COMPENSATION OFFSET UNDER SECTION 440.20(15), FLORIDA STATUTES (1985), AND INITIALLY INCLUDES SUPPLEMENTAL BENEFITS PAID UNDER SECTION 440.15(l)(e)(l), FLORIDA STATUTES (1985), IS THE EMPLOYER ENTITLED TO RECALCULATE THE OFFSET BASED ON THE YEARLY 5% INCREASE IN SUPPLEMENTAL BENEFITS?
We have jurisdiction. See art. V, § 3(b)(4), Fla. Const. For the reasons expressed in City of Clearwater v. Acker, 755 So.2d 597 (Fla.1999), we answer the *906certified question in the negative and approve the First District’s decision in this case.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE and LEWIS, JJ., concur.
